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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 NANCY E. LEWEN,                                              CIVIL ACTION

               Plaintiff,                                     No. 1:17-cv-00148-SPB

        v.

 PENNSYLVANIA SOLDIERS’ AND                                   ELECTRONICALLY FILED
 SAILORS’ HOME (PSSH), et al.

               Defendants.


MOTION FOR WITHDRAWAL OF APPEARANCE PURSUANT TO LC v R 83.2 (c)(4)

       AND NOW comes Defendants, Pennsylvania Soldiers’ and Sailors’ Home (PSSH), et al.,

and set forth the following in support of their Motion for Withdrawal of Appearance Pursuant to

LC v R 83.2 (c)(4):

       1. The undersigned has entered an appearance in this action on behalf of Defendants
          Pennsylvania Solders’ and Sailors’ Home (PSSH), et al.;

       2. The undersigned has resigned his position with the Office of Attorney General to take
          other employment;

       3. Yana L. Warshafsky, Deputy Attorney General, who has already entered her
          appearance in this matter, will continue to represent Defendants Pennsylvania Solders’
          and Sailors’ Home (PSSH), et al.

       WHEREFORE, the undersigned requests that the Court grant his Motion for Withdrawal.

Dated: September 16, 2019                   Respectfully submitted,

                                            YVONNE S. HILTON
                                             City Solicitor

                                            s/Michael E. Kennedy
                                            Michael E. Kennedy (Pa. ID No. 52780)
                                            Associate City Solicitor
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                           and Sailors’ Home (PSSH), et al.
